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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

 TRUMP MEDIA & TECHNOLOGY
 GROUP CORP.,

             Plaintiff,

 v.                                            Case No.: 8:23-cv-1535-TPB-AAS

 WP COMPANY LLC
 d/b/a The Washington Post

             Defendant.
                                     /

      JOINT MOTION TO MODIFY CASE MANAGEMENT ORDER
          WITH INCORPORATED MEMORANDUM OF LAW

       Plaintiff, Trump Media & Technology Group Corp. (“TMTG”), and

 Defendant, WP Company LLC d/b/a The Washington Post (“The Post”)

 (collectively, the “Parties”), by and through their counsel, hereby respectfully

 request that the Court modify the Case Management and Scheduling Order

 (Doc. 64, the “Fourth Case Management Order”). This is the Parties’ fourth

 request for a modification of the Case Management and Scheduling Order,

 which would preserve the status quo and further judicial efficiency by moving

 the Parties’ commencement of document production to twenty-one (21) days

 following an Order on The Post’s forthcoming motion to dismiss TMTG’s

 Second Amended Complaint (Doc. 70).
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                         MEMORANDUM OF LAW

       The grounds for the requested modification are as follows:

       1.    On December 28, 2023, this Court issued the first Case

 Management and Scheduling Order. (Doc. 45.)

       2.    On March 8, 2024, this Court entered an Order Granting in Part

 and Denying in Part Defendant’s Motion to Dismiss. (Doc. 46.)

       3.    Subsequently, TMTG filed its Amended Complaint and The Post

 filed its Motion to Dismiss the Amended Complaint.

       4.    On April 26, 2024, the Court scheduled a Case Management

 Conference for September 25, 2024. (Doc. 52.)

       5.    The Parties exchanged initial written discovery in the form of

 interrogatories and requests for production on or about July 15, 2024.

       6.    On August 22, 2024, the Parties jointly moved to modify the first

 Case Management and Scheduling Order for good cause, because the Parties

 had “jointly concluded that it would help preserve party and Court resources

 and promote the ultimate efficient resolution of this case if they have

 additional time to respond to existing discovery requests and the ability to

 recalibrate the remaining case schedule after receiving guidance from the

 Court” on The Post’s Motion to Dismiss the Amended Complaint, which was

 then pending. (Doc. 57, ¶ 9.)

       7.    On August 27, 2024, the Court entered the Order granting the


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 Parties’ joint motion to modify the first Case Management and Scheduling

 Order, ordering the Parties to exchange responses and objections to the

 pending discovery requests on or before September 17, 2024; and to commence

 document production to each other on or before October 17, 2024. (Doc. 58

 (incorporating Doc. 57, ¶ 7(a)-(c)).) The Court further ordered that “[a]ll other

 deadlines and activities set forth in the Court’s December 28, 2023, Case

 Management and Scheduling Order (Doc. 45) are stayed pending further order

 of the Court.” (Id.)

         8.    The Court subsequently reset the Case Management Conference,

 moving it from September 25, 2024, to October 31, 2024. (Doc. 58.) The Parties

 then filed a second joint motion to move the deadline for commencing document

 production to on or before November 8, 2024, to “account for the rescheduling

 of the Case Management Conference to October 31, 2024, and give the Parties

 an opportunity to receive guidance from the Court in connection with the

 Conference on the potential scope of the case before commencing the

 production of documents.” (Doc. 60, ¶¶ 10-11.) The Court granted the motion

 on September 19, 2024. (Doc. 61.)

         9.    Pursuant to the second Case Management and Scheduling Order,

 the Parties exchanged discovery objections and responses on September 27,

 2024.

         10.   The Court subsequently reset the Case Management Conference,


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 moving it from October 31, 2024, to December 18, 2024. (Doc. 62.) The Parties

 filed a third joint motion to move the deadline for commencing document

 production to “twenty-one (21) days after the next Case Management

 Conference,” to account for the rescheduling. (Doc. 63, ¶ 14.) The Court

 granted the motion on November 4, 2024. (Doc. 64.)

       11.   On December 23, 2025, the Court entered an Order Granting

 Defendant’s Motion to Dismiss Amended Complaint. (Doc. 68.) The Court

 dismissed the Amended Complaint “without prejudice and allow[ed] TMTG

 another opportunity to amend.” (Id. at 18-19.)

       12.   TMTG filed its Second Amended Complaint on January 13, 2025.

       13.   The Post’s motion to dismiss the Second Amended Complaint is

 due by January 27, 2025, and The Post intends to file the motion on that date.

       14.   The Parties anticipate that an Order on The Post’s forthcoming

 motion to dismiss will resolve the issue of whether TMTG is able to state a

 claim, and thus whether further discovery will be required in this case. The

 Parties agree that further expenditure of party resources on document

 production thus would be premature at this time, and potentially inefficient.

       15.   Counsel for TMTG and The Post have conferred in good faith since

 the filing of TMTG’s Second Amended Complaint and agreed to jointly request

 that the Fourth Case Management Order be modified to adjust the deadline




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 for the commencement of document production. The Parties make this request

 for reasons similar to those provided in their prior joint motions.

       16.   Accordingly, the Parties request the following modifications to the

 Fourth Case Management Order:

       (a) the Parties will prepare and submit a replacement Case Management

 and Scheduling Order within seven (7) days of the issuance of an Order

 (“Forthcoming Order”) by the Court on The Post’s forthcoming motion;

       (b) the Parties will commence document production to each other on or

 before twenty-one (21) days after the issuance of the Forthcoming Order.

       17.   The Federal Rules permit modification of a case management and

 scheduling Order upon a showing of “good cause.” Fed. R. Civ. P. 16(b)(4); see

 also Fed. R. Civ. P. 6(b) (permitting extensions for good cause when motion is

 made prior to original deadline).

       18.   Good cause exists here for this modification of the Fourth Case

 Management Order.        The Parties have cooperated in discovery.          This

 modification will account for the filing of TMTG’s Second Amended Complaint

 and of The Post’s forthcoming motion. Without prejudging the outcome of that

 motion, the modification will allow for the “possibility that the motion will be

 granted and entirely eliminate the need for such discovery,” and thereby

 provide the Parties with the “benefits of saved time, money, and resources” in




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 such an event. Morris v. Lincare Inc., 2023 WL 3092625, at *1 (M.D. Fla. Apr.

 26, 2023) (citation omitted).

       WHEREFORE, TMTG and The Post respectfully request this Court to

 enter an Order approving the modifications to the Fourth Case Management

 Order set forth above.


 Dated: January 27, 2025                      Respectfully submitted,

  /s/ Stephen B. French                       /s/ Thomas G. Hentoff
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                         CERTIFICATE OF SERVICE

       I certify that on January 27, 2025, a copy of the foregoing was filed with

 the Clerk of the Court using the Court’s CM/ECF system, which will send a

 copy to all counsel of record.



                                                /s/ Thomas G. Hentoff
                                                Thomas G. Hentoff
                                                Counsel for Defendant
